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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

    v.
                                                           CR NO. 22-MJ-96
EDWARD KELLEY,

   Defendant.



                                               ORDER
         Based upon the representations in the Consent Motion to Continue and to Exclude Time Under

the Speedy Trial Act, and upon consideration of the entire record, it is hereby

         ORDERED that the Motion is GRANTED; it is further

         ORDERED that the currently scheduled Preliminary Hearing on June 16, 2022, be continued for

good cause to August 16, 2022, at 1:00 p.m.; and it is further

         ORDERED that the time between June 16, 2022, and August 16, 2022, shall be excluded from

calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that the ends of

justice served by the granting of such a continuance outweighs the best interests of the public and the

defendant in a speedy trial, as a continuance will provide the parties additional time to continue

negotiating a potential pretrial resolution and the parties additional time to review discovery.
                                                                                  Zia M. Faruqui
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                                                      THE HONORABLE ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE
